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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA
                             NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                     MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                            SECTION “N-5"

                                                        JUDGE ENGELHARDT
                                                        MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO ALL CASES

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                   MOTION FOR LEAVE TO AMEND PLAINTIFFS’
                    ADMINISTRATIVE MASTER COMPLAINT

       NOW INTO COURT, through undersigned counsel, come plaintiffs, who for the reasons

set forth in the accompanying memorandum attached hereto, respectfully move the Court for

leave to file their Fifth Supplemental and Amended Administrative Master Complaint submitted

herewith.

                                   Respectfully submitted:

                                   FEMA TRAILER FORMALDEHYDE
                                   PRODUCT LIABILITY LITIGATION

                                   BY:    s/Gerald E. Meunier
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   Case 2:07-md-01873-KDE-MBN Document 14480 Filed 06/22/10 Page 2 of 2




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                                          COURT-APPOINTED PLAINTIFFS’
                                          STEERING COMMITTEE
                                          ANTHONY BUZBEE, Texas # 24001820
                                          ROBERT BECNEL, #14072
                                          RAUL BENCOMO, #2932
                                          FRANK D’AMICO, #17519
                                          MATT MORELAND, #24567
                                          LINDA NELSON, #9938
                                          DENNIS REICH, Texas #16739600
                                          MIKAL WATTS, Texas # 20981820

                              CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document has been served
upon counsel of record as indicated below in accordance with the Federal Rules of Civil
Procedure on June 22, 2010.

                                          /s/Gerald E. Meunier _
                                          GERALD E. MEUNIER
